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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA,                        )
                                          )
                     Plaintiff,           )
                                          )
vs.                                       )               Case No. CIV-24-00461-JD
                                          )
MIGUEL CARDONA, in his official capacity )
as the Secretary of Education; and UNITED )
STATES DEPARTMENT OF EDUCATION, )
                                          )
                     Defendants.          )

                                          NOTICE

       Earlier today, the Court issued its Order granting the State of Oklahoma’s Motion

for Preliminary Injunction. [Doc. No. 48]. Given the importance of the issues and the

nature of the other actions and appeals, see id. at 5 n.2, the Court anticipates Defendants

will appeal. Consequently, this Court intends to administratively terminate this action on

the district court docket pending further direction from the U.S. Court of Appeals for the

Tenth Circuit and possibly the U.S. Supreme Court.

       If no appeal is anticipated, or if any of the parties object to the Court

administratively terminating the action until further action by this Court is required, the

parties shall notify the Court by Friday, August 2, 2024, by filing an appropriate notice

with the Court. Otherwise, the Court will administratively terminate the action to be

reopened by any filing by the parties or by an appellate court order or opinion requiring

further action by this Court.
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Entered this 31st day of July 2024.




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